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     5                                                                                 St. Louis, MO 63101
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     6      Video                                                                      james.wyrsch@kwlawstl.com
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            Spreadsheet                                                      8   FOR THE DEFENDANTS VIA VIDEOCONFERENCE:
     8                                                                       9        BRANDON LAIRD
                                                                                      Assistant City Counselor
          Exhibit 22 ........................................114            10        1200 Market Street, Room 314
     9      Spreadsheet                                                               St. Louis, MO 63103
    10                                                                      11        (314) 622-3361
    11    The exhibits were attached to the transcript. Exhibits                      lairdb@stlouis-mo.gov
    12    12, 20, and 34 were retained.                                     12
    13                                                                      13   VIDEOGRAPHER VIA VIDEOCONFERENCE:
    14                                                                      14        JOHN NIEHAUS
    15                                                                                GENE MILLER
                                                                            15        Alaris Litigation Services
    16                                                                      16   REPORTED BY:
    17                                                                      17        REBECCA L. TUGGLE, RPR, CCR, CSR
    18                                                                                Alaris Litigation Services
    19                                                                      18
    20                                                                      19
    21                                                                      20
    22                                                                      21
    23                                                                      22
    24                                                                      23
                                                                            24
    25                                                                      25

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     1         IN THE UNITED STATES DISTRICT COURT                           1         VIDEOGRAPHER: We're on the record. Today's
                    EASTERN DISTRICT OF MISSOURI                             2   date is June 23, 2020, and the time is approximately
     2                 EASTERN DIVISION
                                                                             3   9:06 a.m. This is the video-recorded deposition of
     3   MEGAN ELLYIA GREEN,             )
                            )                                                4   Sergeant Charles Wall, in the matter of Megan Ellyia
     4   Plaintiff,            )                                             5   Green verse City of St. Louis, Missouri, et al., Case
                            )                                                6   Number 4:18-CV-01629-JCH, in the United States
     5   vs.                  )Cause No. 4:18-CV-01629-JCH
                                                                             7   District Court, Eastern District of Missouri, Eastern
                            )
     6   CITY OF SAINT LOUIS, MISSOURI, )                                    8   Division.
         ET AL.,                 )                                           9         This deposition is being held at Alaris
     7                      )                                               10   Litigation in St. Louis, Missouri. The reporter's
         Defendants.               )
                                                                            11   name is Rebecca Tuggle. My name is John Niehaus. I'm
     8
     9                                                                      12   the legal videographer. We are with Alaris Litigation
    10                                                                      13   Services.
    11                                                                      14         Will counsel please introduce yourself for
    12          VIDEOTAPED DEPOSITION OF SERGEANT CHARLES
                                                                            15   the record.
    13   WALL, produced, sworn, and examined on behalf of the
    14   Plaintiff, June 23, 2020, between the hours of eight               16         MR. WYRSCH: James Wyrsch for the plaintiff.
    15   o'clock in the forenoon and five o'clock in the                    17         MS. DRAKE: Kiara Drake for plaintiff.
    16   afternoon on that day, Alaris Litigation Services, 711             18         MR. LAIRD: Brandon Laird for defendants.
    17   N. 11th Street, St. Louis, Missouri 63101, before
                                                                            19         VIDEOGRAPHER: Will you please swear in the
    18   Rebecca L. Tuggle, a Registered Professional Reporter,
    19   Certified Court Reporter, and Certified Shorthand                  20   witness.
    20   Reporter within and for the State of Missouri.                     21         IT IS STIPULATED AND AGREED by and between
    21                                                                      22   counsel for the Plaintiff and counsel for the
    22
                                                                            23   Defendants that the videotaped deposition of SERGEANT
    23
    24                                                                      24   CHARLES WALL may be taken in shorthand by Rebecca L.
    25                                                                      25   Tuggle, a Registered Professional Reporter, Certified



                                                                                                                     2 (Pages 5 to 8)
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     1   interrogatory number 3?                                          1   didn't believe that he would have been on the BEAR.
     2      A    Not really. There are individuals that                   2      Q     What -- what -- what did -- what was -- what
     3   we've effectively been able to rule out.                         3   was his -- I mean, what was that basis for? Why --
     4      Q    Okay.                                                    4   why did he believe he was not there based on the
     5      A    But no.                                                  5   video?
     6      Q    All right. Before we go to that, earlier                 6      A     I don't know. That was just --
     7   you mentioned that you may have taken notes of your              7      Q     Let me ask you this. Do -- do you remember
     8   conversations with the various persons you interviewed           8   video you're referring to?
     9   in preparation for this deposition.                              9      A     Yes.
    10          Did you review any of those notes to prepare             10      Q     Which video?
    11   for the deposition?                                             11      A     It's a video from the intersection of
    12      A    I mean, I -- as it relates to this specific             12   Lindell and York.
    13   topic, like I said, I can't recall if I took any                13      Q     This is one of the Real Time Crime Center
    14   notes. In the days leading up to this, I haven't                14   cameras?
    15   reviewed any notes as it relates to this topic.                 15      A     Correct.
    16      Q    Okay. The -- so who -- who have you been                16      Q     Okay. And it's the video -- when you see --
    17   able to rule out?                                               17   is it the video where you see the BEAR come into frame
    18      A    So Lieutenant Tim Sachs and then Sergeant               18   and you see chemical munitions?
    19   Cliff Sommer, Sergeant John Jones, and Sergeant                 19      A     That's what appears to be happening, yes,
    20   Michael Scego apparently at no time during this time            20   next to a red pickup truck parked at the curb.
    21   were they on the BEAR.                                          21      Q     Okay. So what about seeing that suggested
    22      Q    Okay. And what are you basing -- let's                  22   to Officer Flatley that he wasn't there?
    23   start with Sachs. What are you basing that on?                  23      A     I -- I don't know. That's just what he
    24      A    Conversations that I've had with him.                   24   indicated after seeing the video --
    25      Q    Okay. Did anyone else confirm that he was               25      Q     Okay.


                                                               Page 14                                                             Page 16
     1   not on the BEAR?                                                 1      A     -- that he didn't believe that he was on the
     2       A Essentially in speaking with the supervisors               2   BEAR at that time.
     3   of the SWAT unit, it would be -- it was their                    3      Q     Is there anything else to corroborate that
     4   recollection that at no time were any of those                   4   other than his belief?
     5   individuals on the BEAR, and then they said it would             5      A     I don't believe so.
     6   not be normal for any of those individuals to be on              6      Q     What is the other vehicle that Officer
     7   the BEAR.                                                        7   Mueller would have been utilizing?
     8       Q And I apologize. Cliff Sommers, he also a                  8      A     So there is a -- SWAT calls it a gas truck.
     9   sergeant?                                                        9   I believe it's a -- some type of pickup truck. I
    10       A He is.                                                    10   don't know the make and model. But it has an enclosed
    11       Q So the only people we've been able to rule                11   camper and they keep some of their -- it's my
    12   out are the four supervisors?                                   12   understanding their -- their less lethal munitions in
    13       A And then Officer Aaron Mueller assigned to                13   that vehicle, and that Officer Mueller is assigned
    14   SWAT, he apparently has another vehicle assigned to             14   that vehicle and tasked with the responsibilities of
    15   him that he most likely would have been utilizing and           15   that vehicle.
    16   not had been on the BEAR at that point in time.                 16      Q     Does he drive that vehicle?
    17         And then it's also Officer -- and his first               17      A     Yes.
    18   name is escaping me -- but Officer Flatley, in going            18      Q     Do you see that vehicle in any of the
    19   over some of the video, he indicated that he did not            19   videos?
    20   believe that he was present on the BEAR at that time            20      A     I -- I may have seen a similar vehicle in
    21   either.                                                         21   some of the various video I have available to me, but
    22       Q What do -- what do you mean by -- by going                22   as it relates to this incident and -- and that area of
    23   over the video? Did he see himself in the video?                23   Lindell and York, I do not.
    24       A No. It was a video of the BEAR. Just the                  24      Q     Okay. And other than Officer -- and is that
    25   BEAR at a location and time, and at that time, he               25   coming from Officer Mueller, that he -- he claims that



                                                                                                                  4 (Pages 13 to 16)
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                                                            Page 17                                                             Page 19
     1   he was in charge of that truck?                               1   he was not in the BEAR. I don't have anything to
     2      A   I believe that Sergeant Jones and Sergeant             2   confirm or deny that.
     3   Sommer indicated such and Officer Mueller indicated           3      Q    Okay. So as a representative of the City,
     4   that as well, yes.                                            4   you don't take a position on that?
     5      Q    Okay. And if I understand correctly, and              5      A   Yeah, that's just what he indicated to me,
     6   correct me if I'm wrong, the idea is that he would            6   and I -- I don't have anything to contradict that.
     7   never have been in the BEAR because his job was to be         7      Q    Okay. So -- and you spoke to all the other
     8   on the gas truck?                                             8   members of mobile reserve SWAT?
     9      A   That's my understanding, yes.                          9      A   Either I did, myself, or I seem to recall
    10             (Exhibit 5, Ops Plan, was marked in a              10   that there may have been one meeting with one or more
    11             previous deposition and now identified             11   of the officers that I was not able to personally
    12             for the record.)                                   12   attend, but then the information that was relayed to
    13      Q    (By Mr. Wyrsch) All right. So turning to --          13   the City Counselor's Office was relayed to me.
    14   I'm going to show you what's previously been marked as       14      Q    Okay. And so of all those other people,
    15   Exhibit Number 5. This is just -- we're continuing           15   given that Officer Flatley affirmatively stated that
    16   the numbering from the previous depositions.                 16   he didn't think he was in the BEAR, did the other ones
    17          Can you see Exhibit 5?                                17   not remember? Do they not -- what was their position
    18      A   Yes.                                                  18   on whether they were in the BEAR?
    19      Q    Okay. This is, I'll represent to you, a              19      A   Essentially -- so the BEAR is -- I guess to
    20   extract from the ops plan. Do you recognize that?            20   compare it to like a U-Haul truck. There's really --
    21      A   I do.                                                 21   unless they turn the lighting on, which typically for
    22      Q    So on the first page of Exhibit 5 on the             22   tactical reasons they do not, it's a big, dark box.
    23   bottom, you see mobile reserve SWAT, Sachs, Sommer,          23   And so the officers essentially couldn't recall --
    24   Jones, and Scego, the ones that you just talked about?       24   they all conceded that at some point, they were most
    25      A   Correct.                                              25   likely on the BEAR. But they couldn't definitively


                                                            Page 18                                                           Page 20
     1      Q    And -- and -- and just for this particular            1   say when and where just because of the, I guess,
     2   record, this is a list of all of the members of the           2   dynamics of that evening.
     3   reserve SWAT who were assigned to the civil                   3      Q   Okay. And -- and did you show them the
     4   disobedience response operations for the weekend of           4   video of the -- the Lindell and York intersection?
     5   September 15th; is that correct?                              5      A   Yes.
     6      A    I believe so, yes.                                    6      Q   Each and every one of them?
     7      Q    So on the second page, we've got one, two,            7      A   Yes.
     8   three, four, five, six -- a number of names of -- of          8      Q   And that -- that didn't trigger their
     9   other -- other members of SWAT. Do -- first, do you           9   memories?
    10   know sitting here today which of these offers were on        10      A   No.
    11   duty the night of September 15th in the Central West         11      Q   So the City's position is that all of these
    12   End?                                                         12   people, except for -- and when I'm talking about these
    13      A    So it appears Lance Coats is listed twice            13   people, I mean the people on page 2 --
    14   for some reason, but it's my understanding that all of       14      A   Yes.
    15   the individuals listed were working.                         15      Q   -- of mobile SWAT reserve -- may -- were on
    16      Q    And so you -- aside from the three sergeants         16   the BEAR at some point that evening or may have?
    17   and lieutenant, you -- you have confirmed to your            17      A   May have been.
    18   satisfaction that Officers Flatley and -- Mueller or         18      Q   Other than Mueller and Flatley?
    19   Miller? I'm sorry.                                           19      A   I guess as it relates to that incident at
    20      A    I believe it's Aaron Mueller, M-u-e-l-l-e-r.         20   Lindell and York, yes. Other than Mueller and Flatley
    21      Q    You confirmed -- you confirmed to your               21   indicated that he didn't believe he was.
    22   satisfaction or to the City's satisfaction that those        22      Q   Okay. Do any of them specifically confirm
    23   two gentlemen were not in the BEAR; correct?                 23   that they were on the BEAR at some point that evening?
    24      A    I think it would be more accurate to say             24      A   Many of them said that they were on the BEAR
    25   that as it relates to Flatley, that he indicated that        25   at -- at various points that evening, yes.



                                                                                                            5 (Pages 17 to 20)
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     1      Q    Who?                                                   1              in a previous deposition and now
     2      A   I believe Manasco, Moore, I think Flatley               2              identified for the record.)
     3   indicated that he was on the BEAR at other points.             3      Q      (By Mr. Wyrsch) Okay. Is there -- well --
     4   Wurm, Frigerio, Zwilling, Long, Boyce, certainly               4   okay. I'm going to show you what we've marked as
     5   Blackmon. Those are -- those are ones that I                   5   Exhibit Number 7. Do you see that?
     6   specifically am recalling now that -- that said that,          6      A     Yes.
     7   yes, they were absolutely on the BEAR at some point,           7      Q      Do you recognize this document?
     8   but they could not confirm whether or not they were on         8      A     It's a police report from the evening of the
     9   the BEAR at that video at Lindell and York.                    9   15th of September 2017.
    10      Q    Okay. Did you speak with Joe Calabro?                 10      Q      Okay. And that's the evening that we're
    11      A   I know I have and I can't recall -- I don't            11   talking about here?
    12   believe that he indicated -- I don't know -- I can't          12      A     Yes.
    13   recall if he indicated -- I know that it was his task         13      Q      I'm scrolling down to the narrative at page
    14   to be in the BEAR, but I don't believe that he was in         14   City 000622, the bottom of that page. You just want
    15   the BEAR for this incident at Lindell and York.               15   to take some time to read through that and then the
    16      Q    Was he on the BEAR on the night of the 15th?          16   next page is 000623.
    17      A   I believe at various points he was, yes.               17            Let me back and I'll show you the entire
    18      Q    And what do you -- what are you basing your           18   page.
    19   belief -- and, again, you're testifying on behalf of          19      A     Okay. And then you wanted me to look at the
    20   the City. So what are you basing the belief that he           20   next page?
    21   was not in there at the incident at Lindell and York?         21      Q      Yep.
    22      A   I believe that he relayed that to someone              22      A     Okay.
    23   with the City Counselor's Office and it was then              23      Q      And then the last page, 000624.
    24   relayed to me.                                                24      A     Okay.
    25      Q    Anything else to corroborate that beyond his          25      Q      All right. So just from your review of the


                                                             Page 22                                                          Page 24
     1   statements?                                                    1   videos, the -- the incident that's captured on York
     2      A   Beyond his statements, I don't believe so.              2   and Lindell -- the camera at York and Lindell, this
     3   I don't -- I -- I don't think that Officer Blackmon,           3   was -- am I correct that this was following -- right
     4   who was driving, could recall whether or not he was            4   here in this kind of area, there's a description of
     5   with him at that point.                                        5   the North Patrol and South Patrol CDT teams moving
     6      Q    But what -- okay. And -- and were any of               6   south on Euclid.
     7   them asked about the dispersal of chemical munitions           7            Then there's the protest group continued
     8   from the BEAR that evening?                                    8   south across Maryland and there's a mention of some
     9      A   Yes.                                                    9   chemical being sprayed and then the shots fired in the
    10      Q    And did anyone recall chemical munitions              10   south alley at Lindell, that -- that all is kind of
    11   being dispersed?                                              11   right before the incident at York and Lindell; is that
    12      A   Not at that -- I mean, they -- essentially             12   right?
    13   they said that it appeared that chemical munitions            13      A     That's my understanding, yes.
    14   were being dispersed from the BEAR at that point, but         14      Q      Okay. And then some -- and here it says
    15   no one recalled being involved in that.                       15   these actions again required the deployment of
    16      Q    And you -- and you showed each of them the            16   chemical munitions to force their retreat and
    17   video at York and Lindell and none of them could              17   ultimately dispersal of the protesters; right?
    18   recall being involved in that particular situation?           18      A     Yes.
    19      A   Correct. Correct.                                      19      Q      Then none of the -- nowhere in the police
    20      Q    But to be clear, other than Officer Mueller           20   report is there -- did they identify who deployed
    21   and Officer Flatley, none of them deny being there?           21   chemical munitions at that point?
    22      A   Essentially they indicated that they                   22      A     No.
    23   couldn't confirm that they were there or deny that            23      Q      Okay. And -- and I don't want to get too
    24   they weren't there.                                           24   far into this, but according to your use of force
    25            (Exhibit 7, Police Report, was marked                25   policy, you're supposed to document when you use



                                                                                                             6 (Pages 21 to 24)
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